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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11    JOHN ELIAS,                                 Case No. 2:21-cv-08196-FLA (SPx)
12                              Plaintiff,
                                                  ORDER GRANTING JOINT
13                v.                              STIPULATION FOR VOLUNTARY
14                                                REMAND [DKT. 14]

15    AMERICAN MULTI-CINEMA, INC.;
      BRIAN JOHNSON and DOES 1 to 25,
16
                                Defendants.
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19           On December 1, 2021, the court received the parties’ Joint Stipulation for
20     Voluntary Remand (the “Stipulation”). Dkt. 14. The court, having considered
21     the Stipulation and finding good cause therefor, hereby GRANTS the Stipulation
22     and REMANDS the action to the Superior Court of California, Los Angeles
23     County. The Motion to Remand (DKT. [10]) is denied as moot.
24          IT IS SO ORDERED.
25
26    Dated: December 6, 2021                    ______________________________
                                                 FERNANDO L. AENLLE-ROCHA
27
                                                 United States District Judge
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